Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 1 of 30




         EXHIBIT C
    Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 2 of 30



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

SHRIMANT NARAYAN TX         §
REGENCY INN & SUITES        §
                            §
V.                          §                    CIVIL ACTION NO. 4:17-CV-00683
                            §
NORTHLAND INSURANCE COMPANY §

                  DEFENDANT’S NOTICE OF REMOVAL
              EXHIBIT C: COPIES OF PLEADINGS ASSERTING
        CAUSES OF ACTION AND ALL ANSWERS TO SUCH PLEADINGS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW, Northfield Insurance Company (incorrectly sued herein as

Northland Insurance Company), the defendant in the above entitled and numbered

cause, and files copies of all pleadings asserting causes of action and all answers to

such pleadings as required by Local Rule 81.2.
               Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 3 of 30




                                                                                                                        A3M / ALL
                                                                                                     Transmittal Number: 16241705
Notice of Service of Process                                                                            Date Processed: 02/14/2017

Primary Contact:           Pamela Beyer
                           The Travelers Companies, Inc.
                           385 Washington Street, 9275-LC12L
                           Saint Paul, MN 55102

Entity:                                       Northland Insurance Company
                                              Entity ID Number 2317335
Entity Served:                                Northland Insurance Company
Title of Action:                              Shrimant Narayan Regency TX Inn & Suites vs. Northland Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Harris County District Court, Texas
Case/Reference No:                            201705279
Jurisdiction Served:                          Texas
Date Served on CSC:                           02/14/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           J. Zachary Moseley
                                              713-334-6121

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscglobal.com
                       Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 4 of 30
                                                                                                                                W-


                                                  CAUSE N0. 201705279

                                                  RECEIPT N0.                                               75.00        CTM
                                                                  **********                                TR # 73334616
  PLAINTIFF: SHRIMANT NARAYAN TX REGENCY INN & SUITES                                             In The   157th
          vs.                                                                                     Judicial District Court
  DEFENDANT: NORTHLAND INSURANCE COMPANY                                                          of Harris County, Texas
                                                                                                  157TH DISTRICT COURT
                                                                                                  Houston, TX
                                                CITATION (CERTIFIED)
 THE STATE OF TEXAS
 County of Harris



 T0: NORTHLAND INSURANCE COMPANY MAY BE SERVED BY SERVING ITS
     REGISTERED AGENT CORPORATION SERVICE COMPANY

           211 EAST 7TH STREET SUITE 620        AUSTIN TX 78701 - 3218
           Attached is a copy of PLAINTIFF'S ORIGINAL PETITION



 This instrument was filed on the 25th day of Januarv, 2017, in the above cited cause number
 and court. The instrument attached describes the claim against you.

      YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
 written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
 next following the expiration of 20 days after you were served this citation.and petition,
 a default judgment may be taken against you.

 TO OFFICER SERVING:
       This citation was issued on 27th day of January, 2017, under my hand and
 seal of said Court.



                                                                         R •
 Issued at reauest of:                                                     Ln':
 MOSELEY, JOHN ZACHARY                             -i
                                                  fV                          : z~`     CHRIS DANIEL , District Clerk
 411 N. SAM HOUSTON PKWY. E. SUITE                                                      Harris County, Texas
 200                                              ,; ~s~o .................~a.~~ ~;.:   201 Caroline, Houston, Texas 77002
 HOUSTON, TX 77060                                                                      (P.O. Box 4651,•Houston, Texas 77210)
 Tel: (713) 334-6121                                          ..,....a..•,»"
 Bar No.: 24092863                                                         Generated By: BLESSING, JACOB K       IWD//10592669


                                               CLERK'S RETURN BY MAILING
Came to hand the         day of                                  ,       , and executed by
mailing to Defendant certified mail, return receipt requested, restricted delivery, a true
copy of this citation together with an attached copy of
 PLAINTIFF'S ORIGINAL PETITION
to the following addressee at address:


                                                              ADDRESS

                                                              Service was executed in accordance with Rule 106
(a)ADDRESSEE                                                     (2) TRCP, upon the Defendant as evidenced by the
                                                                  return receipt incorporated herein and attached
                                                                  hereto at


                                                              on        day of
                                                              by U.S. Postal delivery to


                                                              This citation was not executed for the following
                                                              reason:


                                                             CHRIS DANIEL, District Clerk
                                                             Harris County, TEXAS

                                                             By                                                     , Deputy




N. I NT . C I TM . P                                                               *7333461 6*
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          Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 5 of 30

                                                                                                                     1/25/2017 5:12:18 PM
                                                                                                Chris Daniel - District Clerk Harris County
                                                                                                                  Envelope No. 14947027
                                          2017-05279 / Court: 157                                                       By: Jacob Blessing
                                                                                                             Filed: 1/25/2017 5:12:18 PM

                                          CAUSE NO.

     SHRIMANT NARAYAN TX                                                      IN THE DISTRICT COURT
     REGENCY INN & SUITES
          Plaiati8°'

     im                                                                       HARRIS COUNTY, TEXAS


     NORTHLAND INSURANCE COMPANY
                                                                                       JUDICIAL DISTRICT
                            DefeJ7daat



                      PLAINTIFF SHRIMANT NARAYAN TX REGENCY INN SUITES
                                      ORIGINAL PETITION



     TO THE HONORABLE JUDGE OF SAID COURT:

               COMES NOW, Shrimant Narayan TX Regency Inn & Suites, (hereinafter referred to as

     "Plaintiff'), complaining of Northland Insurance Company, (hereinafter referred to as "Defendant") and for


     cause of action would respectfully show unto this Honorable Court and Jury as follows:


                                                 DISCOVERY CONTROL PLAN

     1. Plaintiff intends for discovery to be conducted under Level 2 of Texas Rule of Civil Procedure 190.3 and


           affirmatively pleads that this suit is not governed by the expedited-actions process of Texas Rule of Civil


           Procedure 169 because Plaintiff seeks monetary relief of over $100,000.00.


                                                               PARTIES

     2. Plaintiff is an individual residing in Harris County, Texas.


     3. Northland Insurance Company is a foreign insurance company engaging in the business of insurance in


          the State of Texas. Defendant may be served with process by serving its registered agent of service,




     Plarnti ff Regenq, Inn eN Sarrte.r'r Oi igrnal Petition                                                   Page 1 1
   Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 6 of 30




     Corporation Service Company, located at the following address: 211 East 7th Street Suite 620, Austin


     TX 78701 -3218.


                                                           JURISDICTION

4. The Court has jurisdiction over this cause of action because the amount in controversy is within the


     jurisdictional limits of the Court.


5. The Court has jurisdiction over Defendant Northland Insurance Company because Defendant is a foreign


     insurance company that engages in the business of insurance in the State of Texas and Plaintiff's causes


     of action arise out of Defendant's business activities in the State of Texas. Specifically, Northland


     Insurance Company sought out and marketed for insurance in Texas and has "purposefully availed" itself


     of the privilege of conducting activities in Texas. Kelly v. General lnteriorConstr, Inc., 301 S.W.3d 653,


     660-61 (Tex. 2010).


                                                              VENUE

6. Venue is proper in Harris County, Texas, because the Property is situated in Harris County, Texas. TEX.


     CIV. PRAC. & REM. CODE § 15.032.


                                                              FACTS

7. Plaintiff purchased a policy from Defendant Northland Insurance Company, (hereinafter referred to as


     "the Policy"), which was in effect at the time of loss.


8. The Policy was purchased to insure Plaintiff's property, (hereinafte.r referred to as "the Property"), which


     is located at 3617 East Cross Timbers Street, Houston, Texas 77093.


9. Defendant Northland Insurance Company and/or its agent sold the Policy insuring the Property to Plaintiff.




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   Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 7 of 30




10. Plaintiff is a"consumer" as defined under the Texas Deceptive Trade Practices Act ("DTPA") because it


     is a business who sought or acquired by purchase or lease, goods or services, for commercial, personal or


     household use.


11. On or about January 08, 2016, Plaintiff experienced a severe weather related event which caused


     substantial damage to the Property and surrounding homes and businesses in the area. The Property's


     damage constitutes a covered loss under the Policy issued by Defendani Northland Insurance Company.


     Plaintiff subsequently opened a claim on January 08, 2016 and Defendant Northland Insurance Company


     assigned an adjuster to adjust the claim.


12. Thereafter, Defendant Northland Insurance Company wrongfully underpaid Plaintiff's claim and refused


     to issue a full and fair payment for the covered loss as was rightfully owed under the Policy.


13. Defendant made numerous errors in estimating the value of Plaintiff's claim, as exhibited by its assigned


     adjuster's method of investigation and estimation of Plaintiff's loss, all of which were designed to


     intentionally minimize and underpay the loss incurred by Plaintiff. Defendant's assigned adjuster failed


     to fully quantify Plaintiff's covered losses, thus demonstrating that Defendant's assigned adjuster did not


     conduct a thorough investigation of Plaintiff's claim and/or intentionally adjusted Plaintiff's claim


     improperly.


14. Specifically, Defendant, independently and through its assigned adjuster, intentionally and knowingly


     conducted a substandard investigation of the Property. This is evidenced by Defendant's assigned.


     adjuster's estimate, which failed to include all necessary items Plaintiff is entitled to under the Policy to


     place the Property in a pre-loss condition. These necessary items are covered and required under the



Plaintiff .Kegejao, Iran e%' Srriles s Orzgirtal Pelilion                                                Page 1 3
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         Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 8 of 30




           International Building Code and/or Internationa) Residential Code, as adopted by the State of Texas in


          2001.


      15. In addition, the Occupational Safety and Health Administration ("OSHA") dictates, when working on


           buildings with "unprotected sides and edges" that "each employee on a walking/working surface


          (horizontal and vertical surface) with an unprotected side or edge which is 6 feet ( l.8m) or more above a


           lower level SF7ATT• be protected from falling by the use of guardrail systems, safety net systems, or


          personal fall arrest systems." Occupational Safety and Health Act of 1970 § 1926.501(b)(1) (emphasis


           added). This protection was intentionally not included or reflected within the scope of work provided by


          Defendant for Plaintiff's damages to the Property as an attempt to further deny Plaintiff benefits owed


           under the Policy.


      16. Defendant's estimate did not allow for adequate funds to cover the cost of repairs and therefore grossly


           undervalued all of the damages sustained to the Property. As a result of Defendant's conduct, Plaintiff's


          claim was intentionally and knowingly underpaid.


      17. Defendant's assigned adjuster acted as an authorized agent of Defendant Northland Insurance Company.


          Defendant's assigned adjuster acted within the course and scope of their authority as authorized by


           Defendant Northland Insurance Company. Plaintiff relied on Defendant and Defendant's assigned adjuster


           to properly adjust the claim regarding the Property and to be issued payment to fix such damage, which


           did not happen and has not been rectified to date.


      18. Defendant Northland Insurance Company failed to perform its contractual duties to adequately


           compensate Plaintiff under the terms of the Policy. Specifically, Defendant refused to pay the full



      Pkaintr-'~f Regeng, Inn & Snites's O;-~ginal Petition                                                Page 1 4
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        Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 9 of 30




          proceeds owed under the Policy. Due demand was made by Plaintiff for proceeds to be in an amount


          sufficient to cover the damaged Property.


      19. Defendant and/or Defendant's assigned agent sold the Policy to Plaintiff, making various statements and


          representations to Plaintiff that the Property would be covered. Relying on the promises and


          representations made by Defendant and/or Defendant's assigned agent, Plaintiff filed a claim under the


          Policy with the belief that the Property would be covered after a severe weather event such as the one that


          damaged the Property.


      20. All conditions precedent to recovery under the Policy had, and have, been carried out and accomplished


          by Plaintiff.


      21. As a result of Defendant's wrongful acts and omissions, Plaintiff was forced to retain the professional


          services of McClenny Moseley & Associates, PLLC, who is representing Plaintiff with respect to these


          causes of action.




                                                            AGENCY
      22. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


          paragraphs.


      23. AII acts by Defendant Northland Insurance Company were undertaken and completed by its officers,


          agents, servants, employees, and/or representatives. All such acts were either done with the 'full


          authorization or ratification of Defendant Northland Insurance Company and/or were completed in its


          normal and routine course and scope of employment.




      Plainti~f Regeno~ Iran & Snites's Original Petition                                                  Page 1 5
  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 10 of 30




24. Defendant and Defendant's assigned adjuster's conduct constitutes multiple violations of the Texas


     Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). AII violations under this


    subsection are made actionable by TEX. INS. CODE § 541.151.


25. Defendant is liable for the unfair and deceptive acts of its assigned adjuster because he/she meets the


    definition of a"person" as defined by the Texas lnsurance Code. The term "person" is defined as "any


     individual, corporation, association, partnership, reciprocal or inter insurance exchange, Lloyds plan,


     fraternal benefit society, or other legal entity engaged in the business of insurance, including an agent,


     broker, adjusteror life and health insurance counselor." TEX. INS. CODE §541.002(2) (emphasis added);


     see a/so Liberty Mutua/ Ins. Co. v. Garrison Contractors, Inc. 966 S.W.2d 482, 484 (Tex. 1998) (holding

     an insurance company employee to, be a person for the purpose of bringing a cause of action against them


     under the Texas Insurance Code and subjecting them to individual liability).


                                                        NEGLIGENCE

26. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


     paragraphs.


27. Plaintiff entrusted Defendant to properly adjust Plaintiff's insurance claim for the Property damage.


     Defendant did not properly adjust the claim and misinformed Plaintiff of the severity of the Property


     damage. Defendant had and owed a duty to ensure that the Property damage was properly adjusted.


     Nevertheless, Defendant failed to ensure that Plaintiff's damage was properly adjusted. This failure is a


     clear breach of Defendant's duty, and as a result, Plaintiff suffered significant injuries.




Plaintij f Regenql Inn Q% Srrites's Original Petition                                                 Page   1 6
  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 11 of 30




28. Defendant Northland Insurance Company and its assigned adjuster had and owed a legal duty to Plaintiff


    to properly adjust all losses associated with the Property. Defendant, individually and through its assigned


    adjuster, breached this duty in a number of ways, including, but not limited to, the following:


                    A. Defendant, individually and through its assigned adjuster, was to exercise due care in


                         adjusting and paying policy proceeds regarding the Property;


                    B. Defendant, individually and through its assigned adjuster, had a duty to competently and


                         completely handle and pay all covered losses associated with the Property;


                    C. Defendant, individually and through its assigned adjuster, failed to properly complete all


                         adjusting activities associated with Plaintiff's damages; and,


                    D. Defendant's acts, omissions, and/or breaches, individually and through its assigned


                         adjuster, did greai damage to Plaintiff, and were a proximate cause of Plaintiff's damages.


                                              BREACH OF CONTRACT

29. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


     paragraphs.


30. Defendant Northland Insurance Company's conduct constitutes a breach of the insurance contract made


     between Defendant Northland Insurance Company and Plaintiff. According to the Policy, which Plaintiff


    purchased, Defendant Northland lnsurance Company had the absolute duty to investigate Plaintiff's


     damages, and pay Plaintiff policy benefits for the claims made due to the extensive storm-related damages.


31. As a result of the storm-related event, Plaintiff suffered extreme weather related damages. Despite


     objective evidence of weather related damages provided by Plaintiff and its representatives, Defendant




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      Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 12 of 30




        Northland Insurance Company breached its contractual obligations under the Policy by failing to pay


        Plaintiff cost related benefits to properly repair the Property, as well as for related losses associated with


        the subject loss event. As a result of this breach, Plaintiff has suffered additional actual and consequential


        damages.


               VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

    32. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


        paragraphs.


    33. Defendant and/or its assigned adjuster engaged in false, misleading, or deceptive acts or practices that


        constitute violations of the Texas Deceptive Trade Practices Act ("DTPA"), which is codified in the Texas


        Business and Commerce Code ("TEX. BUS. & COM. CODE"), including but not limited to:


                       A. Representing that an agreement confers or involves rights, remedies, or obligations which


                            it does not•have or involve, or which are prohibited by law (TEX. BUS. & COM. CODE


                            § 17.46(b)(12));


                       B. Misrepresenting the authority of a salesman, representative, or agent to negotiate the final


                            terms of a consumer transaction (§ 17.46(b)(14));


                       C. Failing to disclose information concerning goods or services which were known at the


                            time of the transaction, and the failure to disclose such information was intended to


                            induce the consumer into a transaction into which the consumer would not have entered


                            had such information been disclosed (§ 17.46(b)(24));




    Plnintiff Regeng, Inn & Ssrites's Originad Petition                                                      Page 1 8
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      Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 13 of 30




                          D. Using or employing an act or practice in violation of the Texas Insurance Code (§


                                17.50(a)(4));


                          E. Unreasonably delaying the investigation, adjustment, settlement offer and prompt


                                resolution of Plaintiff's claim (TEX. INS. CODE § 541.060(a)(2)-(5));


                          F. Failure to properly investigate Plaintiff's claim (§ 541.060(7)); and/or


                          G. Hiring and relying upon a biased adjuster, in this case Defendant's assigned adjuster, to


                                obtain a favorable, results-oriented report, and to assist Defendant in severely


                                underpaying and/or denying Plaintiff's damage claim (TEX. BUS. & COM. CODE §


                                17.46(31)).


    34. As described in this Original Petition, Defendant Northland Insurance Company represented to Plaintiff


         that its Policy and Northland lnsurance Company's adjusting and investigative services had characteristics


         or benefits that it actually did not have, which gives Plaintiff the right to recover proceeds. TEX. BUS. &


         COM. CODE § 17.46(b)(5).


    35. As described in this Original Petition, Defendant Northland Insurance Company represented to Plaintiff


         that its Policy and Northland Insurance Company's adjusting and investigative services were of a


         particular standard, quality, or grade when they were of another, which stands in violation of § 17.46


         (b)(7)•


    36. By Defendant Northland Insurance Company representing that they would pay the entire amount needed


         by Plaintiff to repair the damages caused by the weather related event and then not doing so, Defendant


         has violated §§ 17.46 (b)(5), (7), (12).



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  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 14 of 30




37. Defendant Northland Insurance Company has breached an express warranty that the damage caused by


    the storm-related event would be covered under Policy. This breach entitles Plaintiff to recover unde'r §§


     17.46 (b) (12), (20); 17.50 (a)(2).


38. Defendant Northland Insurance Company's actions, as described herein, are unconscionable in that


    Defendant took advantage of Plaintiff's lack of knowledge, ability, and experience to a grossly unfair


    degree. Therefore, Defendant's unconscionable conduct gives Plaintiff the right to relief under §


    17.50(a)(3).


39. Defendant Northland Insurance Company's conduct, acts, omissions, and failures, as described in this


     Original Petition, are wifair practices in the business of insurance and are in violation of § 17.50 (a)(4).


40. Plaintiff is a consumer, as deflned under the DTPA, and relied upon these false, misleading, and/or


     deceptive acts and/or practices, made by Defendant Northland Insurance Company, to its detriment. As


    a direct and proximate result of Defendant's collective acts and conduct, Plaintiff has been damaged in an


    amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff now sues. AI1 of


     the aforementioned acts, omissions, and failures of Defendant are a producing cause of Plaintiff's damages


    which are described in this Original Petition.


41. Because Defendant's collective actions and conduct were committed knowingly and intentionally, in


    addition to all damages described herein, Plaintiff is entitled to recover mental anguish damages and


    additional penalty damages, in an amount not to exceed three times such actual damages. § 17.50(b)(1).


42. As a result of Defendant's unconscionable, misleading, and deceptive actions and conduct, Plaintiff has


    been forced to retain the legal services of the undersigned attorneys to protect and pursue these claims on



Plaintijf Begertg, Inn & Szrites's Oiiginal Petition                                                    Page I 10
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      Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 15 of 30




        its behalf. Accordingly, Plaintiff also seeks to recover its costs and reasonable and necessary attorney's


        fees as permitted under § 17.50(d), as well as any other such damages to which Plaintiff may show itself


        to be justly entitled by law and in equity.


                             VIOLATIONS OF THE TEXAS INSURANCE CODE

    43. Plaintiff hereby incorporates by reference all facts and circumstances set forth within the foregoing


        paragraphs.


    44. Defendant and/or its assigned adjuster's actions constitute violations of the Texas Insurance Code ("TEX.


        INS. CODE"), Chapters 541 and 542, including but not limited to:


                       A. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the coverage


                            at issue (TEX.INS. CODE § 541.060(a)(1));


                       B. Failing to attempt, in good faith, to effectuate a prompt, fair and equitable settlement of


                            a claim with respect to which the insurer's liability has become reasonably clear (§


                            541.060(a)(2)(A));


                       C. Failing to promptly provide to a policyholder a reasonable explanation of the basis in the


                            policy, in relation to the facts or, applicable law, for the insurer's denial of a claim or for


                            the offer of a compromise settlement of a claim (§ 541.060(a)(3));


                       D. Failing to affirm or deny coverage of Plaintiff's claim within a reasonable time and


                            failing within a reasonable time to submit a reservation of rights letter to Plaintiff (§


                            541.060(a)(4));




    Plaintiffkegengi Inn 6- Sr+ites's Oizginal Petition                                                         Page I 11
  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 16 of 30




                    E. Refusing, failing, or unreasonably delaying a settlement offer on the basis that other


                            coverage is available (§ 541.060 (a)(5));


                    F. Refusing, to pay a claim without conducting a reasonable investigation with respect to


                            the claim (§ 541.060(a)(7));


                    G. Forcing Plaintiffs to file suit to recover amounts due under the policy by refusing to pay


                            all benefits due (§ 542:003(b)('5));


                    H. Misrepresenting an insurance policy by failing to disclose any matter required by law to


                            be disclosed, including a failure to make such disclosure in accordance with another


                            provision of this code (§ 541.061(5));


                    1. Engaging in false, misleading, and deceptive acts or practices under the DTPA


                            (§541.151(2));


                    J.      Failing to acknowledge receipt of the claim, commence any investigation of the claim,


                           and request from the claimant all items, statements, and forms the insurer reasonably


                            believes at that time will be required from the claimant no later than the 15th day after


                            the receipt of notice of the claim (§ 542.055);


                    K. Failing to notify the claimant in writing of the acceptance or rejection of a claim no later


                            than the 15th business day after the insurer receives all items, statements, and forms


                            required by the insurer to secure a final proof of loss (§ 542.056(a));


                    L. Failing to state the reasons for rejection (§ 542.056(c));




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  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 17 of 30




                  M. Failing to notify the claimant of the reasons that the insurer needs 45 days in additional


                       tiine to accept or reject the claim (§ 542.056(d));


                  N. Failing to pay a claim not later than the 5th business day after the date of notice of


                       acceptance was made (§ 542.057); and/or


                  O. Failing to pay a valid claim after receiving all reasonably requested and required items


                       from the insured. (§ 542.058(a)).


45. By its acts, omissions, failures and conduct, Defendant Northland Insurance Company has engaged in


    unfair and deceptive acts and practices in the business of insurance. Plaintiff, the insured and beneficiary,


    has a valid claim as a result of its detrimental reliance upon Defendant Northland Insurance Company's


    unfair or deceptive acts or practices. § 541.151(2).


46. Defendant's aforementioned conduct compelled Plaintiff to initiate this lawsuit to recover amounts due


    under the Policy, by offering substantially less than the amount ultimately recovered. Defendant refused


    to offer more than the grossly undervalued estimates prepared by Defendant Northland Insurance


    Company and/or Defendant's assigned adjuster, despite knowing the actual damages were much greater


    than what was offered. Defendant's continued refusal to offer compelled Plaintiff to file suit. § 542.003(5).


47. Since a violation of the Texas Insurance Code is a direct violation of the DTPA, and because Defendant


    Northland Insurance Company's actions and conduct were committed knowingly and intentionally,


    Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish damages and


    additional penalty damages, in an amount not to exceed three times the amount of actual damages, for




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       Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 18 of 30




          Defendant having knowingly, intentionally and/or negligently committed said actions and conduct. §


          541.152.


     48. As a result of Defendant Northland Insurance Company's unfair and deceptive actions and conduct,


          Plaintiff has been forced to retain the legal services of the undersigned attorneys to protect and pursue


          these claims on its behalf Accordingly, Plaintiff also seeks to recover its costs and reasonable and


          necessary attorney's fees as permitted under TEX. BUS. & COM. CODE § 17.50(d) or TEX. INS. CODE
                                                            el

          § 541.152 and any other such damages to which Plaintiff may show itself justly entitled by law and in


         equity.



                                      BREACH OF THE COMMON LAW DUTY
                                        OF GOOD FAITH & FAIR DEALING

     49. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing paragraphs.


     50. From and after the time Plaintiff's claim was presented to Defendant Northland Insurance Company, the


          liability of Defendant to pay the full claim in accordance with the terms of the Policy.was more than


          reasonably clear. However, Defendant has refused to pay Plaintiff in full, despite there being no basis


         whatsoever on which a reasonable insurance company would have relied on to deny full payment.


         Defendant's conduct constitutes a breach of the common law duty of good faith and fair dealing. See Viles


          v. Security National Ins. Co., 788 S.W.2d 556, 567 (Tex. 1990) (holding that an insurer has a duty to its


          insureds to "investigate claims thoroughly and in good faith" and an insurer can only deny a claim after a


         thorough investigation shows that there is a reasonable basis to deny that claim).


     51. For the breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory


         damages, including all forms of loss resulting from Defendant's breach of the duty, such additional costs,


     Plainti ff Aegenoi Inn & Sarites's Ori~inal Petition                                                 Page 1 14
  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 19 of 30




     economic hardship, losses due to nonpayment of the amount owed to Plaintiff, and/or exemplary damages


     for emotional distress.


                                                         KNOWLEDGE

52. Each of the acts described above, together and singularly, were done "knowingly" and "intentionally," as


     the terms are used in the Texas Insurance Code, and were a producing cause. of Plaintiff's damages


     described herein.


                                                          DAMAGES

53. Plaintiff will show that all of the aforementioned acts, taken together or singularly, constitute the


     producing causes of the damages sustained by Plaintiff.


54. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff's bargain, which is the amount


     of Plaintiff's claim, together with attorney's fees.


55. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff is entitled to


     actual damages, which include the loss of the benefit that should have been paid pursuant to the Policy,


     court costs and attorney's fees. For knowing conduct of the acts complained of, Plaintiff asks for three


     times Plaintiff s actual damages. TEX. INS. CODE § 541.152.


56. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is entitled to the


     amount of Plaintiff's claim, interest on the claim at the rate of eighteen (18) percent per year, together


     with attorney's fees. § 542.060.


57. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory


     damages, including all forms of loss resulting from the insurer's breach of duty, such as additional costs,




Plczinti~'f Regengi Inn Qi' Snites's Orzginal Petition                                                  Page 1 15
  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 20 of 30




    economic hardship, losses due to nonpayment of the amount the insurer owed, and/or exemplary damages


    for emotional distress.


58. For the prosecution and collection of this claim, Plaintiff has been compelled to engage the services of the


    law firm whose name is subscribed to this pleading. Therefore, Plaintiff is entitled to recover a sum for


    the reasonable and necessary services of Plaintifls attorneys in the preparation and trial of this action,


    including any appeals to the Court of Appeals and/or the Supreme Court of Texas.


59. Defendant's acts have been the producing and/or proximate cause of damage to Plaintiff, and Plaintiff


    seeks an amount in excess of the minimum jurisdictional limits of this Court.


60. More specifically, Plaintiff seeks monetary relief, including damages of any kind, penalties, costs,


    expenses, pre judgment interest, and attorney's fees, $200,000.00 but less than $1,000,000.00.


                                ADDITIONAL DAMAGES & PENALTIES

61. Defendant's conduct was committed knowingly and intentionally. Accordingly, Defendant is liable for


    additional damages under the DTPA, TEX. BUS. & COM. CODE § 17.50(b)(1), as well as all operative


    provisions of the Texas Insurance Code. Plaintiff is clearly entitled to the 18% damages allowed under


    TEX. INS. CODE § 542.060.


                                                ATTORNEY'S FEES

62. In addition, Plaintiff is entitled to all reasonable and necessary attorney's fees pursuant to the Texas


    Insurance Code, DTPA, and TEX. CIV. PRAC. & REM. CODE §§ 38.001-.005.


                                              COMPEL MEDIATION




Plaintiff Regeng, Inn & Snites's Orrganal Petition                                                   Page 1 16
  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 21 of 30




63. Pursuant to TEX. INS. CODE § 541.161 and TEX. BUS. & COM. CODE § 17.5051, Plaintiff requests


    that Defendant be inade to mediate no later than the 30th day of the signed order, following the 90th day


    after the date for which this pleading for relief is served upon Defendant.


                                                       JURY DEMAND

64. Plaintiff demands a jury trial, consisting of citizens residing in Harris County, Texas, and tenders the


    appropriate fee with this Original Petition.


                                                       111C(1nvF.Rv

65. Texas Rule of Civil Procedure 47 has been met in this petition. As such, Plaintiff requests that Defendant


    respond to the Requests for Disclosure, Requests for Production and Interrogatories contained herein:


                                       [. REpUESTS FOR DISCLOSURE

    1.   Pursuant to the Texas Rules of Civil Procedure, Plaintiff request that Defendant Northland Insurance


         Company, disclose all information and/or material as required by Rule 194.2, paragraphs (a) through


         (1), and to do so within 50 days of this request.


                                      II. REOUESTS FOR PRODUCTION

     1. Please produce Northland Insurance Company's complete claim files from the home, regional and


         local offices, as well as third party adjusters/adjusting firms regarding the subject claim, including


         copies of the file jackets, "field" files and notes, and drafts of documents contained in the file for the


         premises relating to or arising out of Plaintiff's underlying claim.


     2. Please produce the underwriting files referring or relating in any way to the policy at issue.in this


         action, including the file folders in which the underwriting documents are kept and drafts of all


         documents in the file.


Plainti~'f Regency Inn 6— Snites's Ofiginal Petition                                                    Page 1 17
  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 22 of 30




     3.   Please produce a certified copy of the insurance policy pertaining to the claim made subject of this


          lawsuit, including all underwriting files and insurance applications sent on behalf of Plaintiff in its


          attempt to secure insurance on the Property, which is the subject of this suit.


     4. Please produce the electronic diary, including the electronic and paper notes made by Northland


          lnsurance Company's claims personnel, contractors, and third party adjusters/adjusting firms relating


          to the Plaintiff's claim


     5. Please produce all emails and other forms of communication by and between all parties in this matter


          relating to the underlying event, claim or the Property, which is the subject of this suit.


     6. Please produce the adjusting reports, estimates and appraisals prepared concerning Plaintiff's


          underlying claim.


     7. Please produce the field notes, measurements and file maintained by the adjuster(s) and engineers


          who physically inspected the Property, which is the subject of this suit.


     8. Please produce the emails, instant messages and internal correspondence pertaining to Plaintiff's


          underlying claim.


     9: Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff's home, regardless


          of whether Northland lnsurance Company intends to offer these items into evidence at trial.


     10. Please produce all communications, correspondence, documents and emails between any and all


          assigned adjusters and/or agents and the Plaintiff, not limited to physical or audio recordings of all


          conversations between Plaintiff and any and all assigned adjusters and/or agents.




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  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 23 of 30




     I 1. Please produce all audio recordings or transcripts of conversations, calls, text, email or any other data


          sent to and from Plaintiff by any and all assigned adjusters and/or agents after their letter of


          representation sent by counsel.


     12. Please provide copies of all marketing material sent on behalf of Northland Insurance Company and/or


          its agents after the date of loss of the Property, which is the subject of this suit.


     13. Please provide all correspondence between Northland Insurance Company and its assigned adjuster,


          and all correspondence between Northland Insurance Company and its assigned agents, after the date


          of loss of the Property, which is the subject of this suit.


                                                III. INTERROGATORIES

     1. Please identify any person Northland Insurance Company expects to call to testify at the time of trial.


     2. Please identify the persons involved in the investigation and handling ofPlaintiff's claim for insurance


          benefits arising from damage relating to the underlying event, claim or the Property, which is the


          subject of this suit, and include a brief description of the involvement of each person identified, their


          employer, and the date(s) of such involvement.


     3. If Northland Insurance Company or Northland Insurance Company's representatives performed any


          investigative steps in addition to what is reflected in the claims file, please generally describe those


          investigative steps conducted by Northland Insurance Company or any of Northland Insurance


          Company's representatives with respect to the facts surrounding the circumstances of the subject loss.


          Identify the persons involved in each step.




Plaintiff Regeng, Inn 6— Srtites's Ofiginal Petr.'tion                                                  Page 1 19
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      Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 24 of 30




         4. Please identify by date, author, and result the estimates, appraisals, engineering, mold and other


              reports generated as a result of Northland Insurance Company's investigation.


         5. Please state the following concerning notice of claim and timing of payment:


              a.         The date and manner in which Northland Insurance Company received notice of the claim;


              b.         The date and manner in which Northland Insurance Company acknowledged receipt of the


    claim;


              C.         The date.and manner in which Northland Insurance Company commenced investigation of


    the claim;


              d.        The date and manner in which Northland Insurance Company requested from the claimant


                        all items, statements, and forms that Northland lnsurance Company reasonably believed, at


                        the time, would be required from the claimant pursuant to the investigation; and


              e.        The date and manaer in which Northland Insurance Company notified the claimant in writing


                        of the acceptance or rejection of the claim.


         6. Please identify by date, amount and reason, the insurance proceeds payments made by Defendant, or


              on Defendant's behalf, to the Plaintiff.


         7. Has Plaintiffs claim for insurance benefits been rejected or denied? If so, state the reasons for


              rejecting/denying the claim.


        .8. When was the date Northland Insurance Company anticipated litigation?


         9. Have any documents (including those maintained electronically) relating to the investigation or


              handling of Plaintiff' s ctaim for insurance benefits been destroyed or disposed of? If so, please



    Plainti~'f Aegengl Inn Q%Szrite.r's Orzgzrtal Petition                                                 Page 1 20
  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 25 of 30




          identify what, when and why the document was destroyed, and describe Northland Insurance


          Company's document retention policy.


     10. Does Northland Insurance Company contend that the insured's premises were damaged by storm-


          related events and/or any excluded peril? If so, state the general factual basis for this contention.


     11. Does Northland lnsurance Company contend that any act or omission by the Plaintiff voided,


          nullified, waived or breached the insurance policy in any way? If so, state the general factual basis for


          this contention.


     12. Does Northland Insurance Company contend that the Plaintiff failed to satisfy any condition precedent


          or covenant of the Policy in any way? If so, state the general factual basis for this contention.


     13. How is the performance of the adjuster(s) involved in handling Plaintiff's claim evaluated? State


          what performance measures are used and describe Northland Insurance Company's bonus or incentive


          plan for adjusters.


                                                        CONCLUSION

66. Plaintiff prays that judgment be entered against Defendant Northland Insurance Company and that


     Plaintiff be awarded all of its actual damages, consequential damages, prejudgment interest, additional


     statutory damages, post judgment interest, reasonable and necessary attorney's fees, court costs and for


     all such other relief, general or specific, in law or in equity, whether pled or un-pled within this Original


     Petition.




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  Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 26 of 30




                                                        PRAYER
          WHEREFORE, PREMISES CONSIDERED, Plaintiff prays it be awarded all such relief to which it


is due as a result of the acts of Defendant Northland Insurance Company, and for all such other relief to which


Plaintiff may be justly and rightfully entitled. In addition, Plaintiff requests the award of treble damages under


the Texas Insurance Code, attorney's fees for the trial and any appeal of this lawsuit, for all costs of Court on


its behalf expended, for pre judgment and post judgment interest as allowed by law, and for any other and


further relief, either at law or in equity, to which Plaintiff may show the itself to be justly entitled.


                                                        RESPECTFULLY SUBMITTED,

                                                        /s/ J. Zacharv Moseley
                                                        MCCLENNY MOSELEY & ASSOCIATES, PLLC
                                                        )arnes M. -McC,lennv
                                                        State Bar No. 24091857
                                                        J. Zachary Moseley
                                                        State Bar No. 2409286.3
                                                        Natasha Bahri
                                                        State Bar No. 24101476
                                                        411 N. Sam llouston Parkway E., Suitc 200
                                                        1louston, Tcxas 77060
                                                        Principal Office No. 713-334-6121
                                                        Facsimile: 713- 322-3953
                                                        Tames(a~t.n~.na-~~11C.C( ~nl
                                                        Zach0<mma-l2llc.com
                                                        :\ atasha(a?mma-pllc.com
                                                        ATTORNEYS FOR PLAINTIFF




Plaintiff Regenql Inn Qi Snites'.r Or•iginal Petition                                                       Page 1 22
                                     Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 27 of 30

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    * *      *   HARRIS COUNTY DISTRICT CLERK
                          P.O. Box 4651
                  HOUSTON, TEXAS 77210-4651
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                                                                                                  Northland Insurance Company
                                                                                                C/O Corporation Service Company
                                                                                                   211 East 7th Street Ste. 620
                                                                                                     Austin, TX 78701-3218
    Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 28 of 30



                                 CAUSE NO. 201705279

SHRIMANT NARAYAN TX         §                                IN THE DISTRICT COURT OF
REGENCY INN & SUITES        §
                            §
VS.                         §                                   HARRIS COUNTY, TEXAS
                            §
NORTHLAND INSURANCE COMPANY §                                  157TH JUDICIAL DISTRICT

                          DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Northfield Insurance Company (incorrectly sued herein as

Northland Insurance Company), the defendant in the above entitled and numbered

cause, and files this its original answer to the plaintiff’s original petition on file herein,

and in support thereof would respectfully show the Court as follows:

                                              I.
       The defendant hereby generally denies the allegations contained in the plaintiff’s

petition on file herein pursuant to Rule 92 of the Texas Rules of Civil Procedure, and

thus assert its privilege of insisting that such allegations be proven by a preponderance

of credible evidence.

                                             II.
       Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, the defendant

notifies all parties to this lawsuit of the defendant’s intent to introduce as evidence at

any pretrial proceeding or at trial any document produced by any party in discovery in

this lawsuit.
    Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 29 of 30



                                            III.

       The defendant specifically reserves the right to amend its answer to plead any

affirmative defenses or other matters that must be specially pled and to assert any

counterclaims or third-party claims it may have after discovery in this case is complete.

       WHEREFORE, PREMISES CONSIDERED, the defendant, Northfield Insurance

Company, moves and prays the Court that upon trial hereof, the plaintiff recover

nothing, and that the defendant go hence with its costs, and for such other and further

relief, both general and special, legal and equitable, to which defendant may show itself

justly entitled to receive.

                                                   Respectfully submitted,

                                                   ORGAIN BELL & TUCKER, LLP
                                                   P O Box 1751
                                                   Beaumont, TX 77704-1751
                                                   (409) 838-6412
                                                   (409) 838-6959 facsimile

                                                   /s/ Greg C. Wilkins
                                                   Greg C. Wilkins
                                                   State Bar No. 00797669
                                                   gcw@obt.com
                                                   Warren B. Wise
                                                   State Bar No. 24093437
                                                   wwise@obt.com

                                                   ATTORNEYS FOR DEFENDANT,
                                                   NORTHFIELD INSURANCE COMPANY




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   Case 4:17-cv-00683 Document 1-3 Filed in TXSD on 03/03/17 Page 30 of 30



                              CERTIFICATE OF SERVICE

        I do hereby certify that on the 3rd day of March, 2017, I electronically filed the
foregoing with the Harris County District Clerk via eFile Texas which will send
notification of such filing to each counsel of record.

                                                /s/ Greg C. Wilkins
                                                  Greg C. Wilkins




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